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  6

  7
                            UNITED STATES DISTRICT COURT
  8
                           CENTRAL DISTRICT OF CALIFORNIA

  9
       UNITED AFRICAN-ASIAN                    Case No:
 10    ABILITIES CLUB, ON BEHALF
 11
       OF ITSELF AND ITS                       COMPLAINT
       MEMBERS; JESSIE JAMES
 12    DAVIS IV, An Individual                 DISCRIMINATORY
 13                                            PRACTICES
                           Plaintiffs,         [US Fair Housing Act of 1988 [42
 14
                                               U.S.C. §§ 3600 et seq, §3604(c),
 15          v.                                §3604(f)(1-3), et seq.; CA
                                               Government Code 12925, 12927,
 16
       AMERICANA NORTHRIDGE                    12955; CA Civil Code §§ 51, 52,
 17    APARTMENTS, LLC; AND                    54.3
 18
       DOES 1 THROUGH 10, Inclusive
                                               DEMAND FOR JURY TRIAL
 19                        Defendants.
 20
                                         INTRODUCTION
 21
      1.    Plaintiffs make the following allegations in this civil rights action:
 22                              JURISDICTION AND VENUE
 23   2.      The federal jurisdiction of this action is based on the 42 U.S.C. §§ 3601,
 24   3604 et. seq. - the U.S. Fair Housing Act Amendments of 1988 (Defendants’
 25
      apartment property consist of four (4) or more residential units), and 42 U.S.C. §
 26
      12101 et. seq., the federal Americans With Disabilities Act. Venue is proper in this
 27
      United States District Court for the Central District of California pursuant to 28
 28

                       1
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  1
      U.S.C. § 1391(b), because a substantial part of Plaintiffs’ claims arose within said
  2
      Judicial District.
  3
                               SUPPLEMENTAL JURISDICTION
  4
      3.      This United States District Court for the Central District of California has
  5
      supplemental jurisdiction over the California state claims as alleged in this
  6
      Complaint pursuant to 28 U.S.C. § 1367(a).
  7
                    NAMED DEFENDANTS AND NAMED PLAINTIFFS
  8
      4.    The term Plaintiffs as used herein specifically include the corporate Plaintiff
  9
      entity known as the United African-Asian Abilities Club, On Behalf Of Itself And Its
 10
      Members (hereinafter referred to as “Club” or “UAAAC”); and the individual
 11
      Plaintiff Jessie James Davis IV (hereinafter referred to as “Davis” or the “named
 12
      Individual Plaintiff”. The Plaintiff Club and Plaintiff Davis are sometimes
 13
      collectively referred to as the “named Plaintiffs” or “Plaintiffs”.
 14
      5.    Plaintiff United African-Asian Abilities Club (UAAAC) is registered and in
 15
      good standing as a Nevada corporation. The named individual Plaintiff Davis is a
 16
      member of the Plaintiff Club organization.
 17
      6. Plaintiffs are informed, believe, and thereon allege that named Defendant
 18
      AMERICANA NORTHRIDGE APARTMENTS, LLC is the operator of the
 19
      apartment rental business known as Americana Northridge Apartments located at
 20
      9740 Zelzah Ave Northridge, CA 91330. Plaintiffs are informed, believe, and
 21

 22
      thereon allege that Defendant AMERICANA NORTHRIDGE APARTMENTS, LLC

 23
      is the owner, operator, and/or lessor of the real property located at 9740 Zelzah Ave

 24
      Northridge, CA 91330 (hereinafter referred to as the “Property”).

 25
      7.    Defendant AMERICANA NORTHRIDGE APARTMENTS, LLC is, and at all

 26
      times mentioned herein were, a business or corporation or franchise, organized and

 27
      existing and/or doing business under the laws of the State of California. Defendants

 28

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  1
      Does 1 through 10, were at all times relevant herein subsidiaries, employers,
  2
      employees, and/or agents of the named Defendants.
  3
                                   CONCISE SET OF FACTS
  4
      8.    The named Individual Plaintiff Davis has cerebral palsy, uses a wheelchair for
  5
      mobility, and is unable to walk any distance. Plaintiff Davis also has limited
  6
      mobility in his hands and upper body. Plaintiff Davis is also a member of the
  7
      Plaintiff Club. The individual Plaintiff Davis had specific dates wherein he intended
  8
      to go the Defendant’s Property to access Defendants’ rental services. Plaintiff Davis
  9
      has actual knowledge of the overt and obvious physical and communication barriers
 10
      at Defendants’ Property. Plaintiff Davis determined that the open and obvious
 11
      physical barriers that exist at Defendants’ Property directly related to his disabilities,
 12
      and that it would be impossible or extremely difficult for him to physically access
 13
      Defendants’ on-site rental services. Plaintiff Davis had knowledge and determined
 14
      that it would be futile gesture for him to go to the Property on the date that he had
 15
      intended. The named Individual Plaintiff Davis was deterred by his actual
 16
      knowledge of the physical and communication barriers that exist at Defendants’
 17
      Property and website. See ¶¶ 25.
 18
      9. The named Individual Plaintiff attempted to use Defendants’ website to access
 19

 20
      Defendants’ online rental services, but had great difficulty due to his disabilities.

 21
      The named Individual Plaintiff also could not determine from Defendants’ website

 22
      content whether Defendants’ office on or off the property and common areas were

 23
      physically accessible to him. The named Individual Plaintiff requested that Plaintiff

 24
      Club assist him to obtain information regarding the physical accessibility of

 25
      Defendants’ on-site office where Defendants’ offer its rental services. In response to

 26
      the named Individual Plaintiff’s request, Plaintiff Club sent one of its members to
 27   Defendants’ physical on-site office. The named Individual Plaintiff personally
 28

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  1
      reviewed all the information and photographs of Defendants’ property. As a result,
  2
      the named Individual Plaintiff has actual knowledge of the overt and obvious
  3
      physical and communication barriers at Defendants’ Property. The named Individual
  4
      Plaintiff determined that the open and obvious physical barriers that exist at
  5
      Defendants’ Property directly related to his disabilities, and that it would be
  6
      impossible or extremely difficult for him to physically access Defendants’ on-site
  7
      rental services. See ¶¶ 25. The named Individual Plaintiff had actual knowledge and
  8
      determined that it would be futile gesture for him to go to the Property on the date
  9
      that he had intended. The named Individual Plaintiff was deterred by his actual
 10
      knowledge of the physical and communication barriers that exist at Defendants’
 11
      Property and website. The named Individual Plaintiff made a written request to
 12
      Defendants’ for an accommodation to have equal access to Defendants’ rental
 13
      services and to eliminate the communication and physical barriers to Defendants’
 14
      rental services, both online and at the property. At the end of this action, the named
 15
      Individual Plaintiff intends to return to Defendants’ website and physical office on or
 16
      off the site location to obtain rental information and verify that the communication
 17

 18
      and physical barriers to Defendants’ rental services are removed.
      10.   The named Plaintiff Club is an organization that advocates on the behalf of its
 19
      members with disabilities when their civil rights and liberties have been violated.
 20
      Plaintiff Club investigated Defendants’ websites and apartment Property in March,
 21

 22
      2022, and in May, 2022. Plaintiff Club member Sharon Riguer investigated the

 23
      Property on the Internet websites. Plaintiffs also investigated the property. The

 24
      results of the research from Club Member Sharon Riguer are contained in the Exhibit

 25
      B to this Complaint. Club members ascertained that Defendants’ rental services at

 26
      Defendants Property were not physically accessible to Davis by a Club member who

 27

 28

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  1
      went to Defendants’ apartment Property, and said Club member attempted to access
  2
      Defendants’ on-site rental services.
  3
      11.   Plaintiff Club diverted its time and resources from its normal purposes
  4
      because of Defendants’ service, policy, program and physical barriers to Defendants
  5
      rental services at Defendants’ websites and Property. Club personnel conducted
  6
      detailed Internet searches to determine if Defendants provide large print, deaf
  7
      interpreter, therapy animal, the required reasonable accommodation policy, and
  8
      required reasonable modification policy. Further, the Club retained contractors to
  9
      investigate said policies, to survey the property, to photograph the property, to
 10
      investigate when the Property was constructed, to investigate the Property ownership
 11
      and to have an access report prepared. Plaintiff Club also diverted staff to
 12
      investigate Defendants' Internet presence to determine compliance with the FHA and
 13
      ADA. Plaintiff Club also investigated Defendants' written rental materials such as
 14
      brochures, rental applications and leases. Moreover, Plaintiff Club made an oral
 15
      investigation to ascertain Defendants' companion animal, deaf interpreter and
 16
      reasonable accommodation and reasonable modification policies. Plaintiff Club also
 17
      caused a physical access consultant to be retained to survey Defendants' facility.
 18
      Plaintiff Club’s findings regarding Defendants’ rental services and facilities were
 19
      incorporated into an Access Report. The Access Report also details the known overt
 20
      and obvious physical access violations at the Property, but it is not intended as an
 21

 22
      exhaustive list of existing violations. Due to these necessary activities to investigate,

 23
      Plaintiff Club’s time and resources were diverted from its normal activity. Plaintiff

 24
      Club suffered injury and also suffered monetary damages due to the diversion of the

 25
      Club’s resources from its normal purposes.

 26
      12.   Plaintiffs allege that Defendants control, operate, and maintain web pages at

 27
      different apartment websites where Defendants offer its rental services.

 28

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  1
      Additionally, Defendants have a physical office location at the Property where they
  2
      also offer their rental services.
  3
      13.   Plaintiffs allege that Defendants’ websites have a close nexus to Defendants’
  4
      physical site rental services because the websites refer to Defendants’ rental services
  5
      that are offered at Defendants’ actual physical office on or off the site. Therefore,
  6
      Plaintiffs allege that the websites are also places of public accommodation.
  7
      Defendants control the websites to the extent that Defendants can change the website
  8
      content to make modifications to comply with the FHA and ADA. Therefore,
  9
      Plaintiffs allege that Defendants can modify the content of Defendants’ websites to
 10
      improve access for Plaintiffs and people with disabilities.
 11
      14.   In this case, the named Plaintiffs allege that the Defendants failed to provide a
 12
      TTY number or the text messaging system for Plaintiffs and other people that are
 13
      deaf or people with speech conditions. Plaintiff Club members have a speech
 14
      disability. Moreover, Plaintiff Club alleges that the Defendants did not modify their
 15
      websites to eliminate non-readable text to allow the blind and people with low vision
 16
      to use the screen reader software to access the information on the website, yet they
 17
      also failed to use large print on their websites. See Exhibit B to this Complaint.
 18
      Plaintiffs assert that most popular screen reader programs are called Jobs Access
 19
      With Speech or “JAWS” and Apple’s VoiceOver Software. Defendants actions
 20
      discriminate against Plaintiff Club, specifically Club members who have low vision
 21

 22
      disabilities. Each of the Club members above cannot use the websites controlled by

 23
      the Defendants. Modifications to Defendants’ websites will not fundamentally alter

 24
      the rental services provided and will also not cause an undue burden to Defendants,

 25
      because the cost is less than One Thousand Dollars ($1,000).

 26
      15.   On March 20, 2022, and on a second subsequent date, Plaintiff Club to

 27
      attempted make a request to the Defendants for reasonable accommodation at the

 28

                        6
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  1
      property. On May 16, 2022, the named individual Plaintiff Davis and Plaintiff Club
  2
      emailed to the Defendants a written request for a reasonable accommodation. In
  3
      May, 2022, Plaintiff Davis and Plaintiff Club, mailed a written request for a
  4
      reasonable accommodation. Defendants failed to respond to both Plaintiffs requests
  5
      for reasonable accommodation as of the date of the filing of this Civil Complaint.
  6
      16.   Plaintiffs are not able to access Defendants rental services due to existing
  7
      overt and obvious communication and physical barriers to access Defendants’ rental
  8
      services both at its online website and at the physical office. Due to the overt and
  9
      obvious physical barriers as alleged herein below, which are required to be removed,
 10
      Plaintiffs requested that Defendants accommodate them to provide access to
 11
      Defendants’ rental services.
 12
      17.   The named Plaintiffs allege that an accommodation is also obvious when a
 13
      whole group of the protected persons requires it. For example, when the public
 14
      without disabilities are required to get up to a second level, the public would be very
 15
      disturbed if they were required to request steps to go up to second level. When the
 16
      accommodation is specific to a particular person with a disability, then that person
 17
      may be required to make a request, because the accommodation is not obvious.
 18
      18.   Plaintiffs allege that they are not required to make a request for reasonable
 19
      accommodation and for auxiliary aids when the barriers to communication are overt
 20
      and obvious. However, in the present case, Plaintiffs did make such requests for
 21

 22
      accommodation to eliminate overt and obvious barriers to its rental services

 23
      communications. Plaintiffs allege that providing effective contact information for

 24
      Defendants’ rental services on the internet is an obvious accommodation. The

 25
      general public does not need to request a contact number from the Defendant

 26
      apartment owner or operator when they desire to rent a place. Defendants provide the

 27
      contact number on their website. Therefore, Plaintiffs allege that Defendants are

 28

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  1
      required to provide the obvious accommodation of effective communication for
  2
      people that are deaf or with speech impediment on their website without a request.
  3
      Defendants must make their rental services accessible without the need for a prior
  4
      request. Furthermore, Defendants have a duty to remove architectural barriers and
  5
      communication barriers to their rental services without request.
  6
      19. Plaintiffs allege that there is disparate treatment on the internet related to the
  7
      amenities being offered to people without disabilities and people with disabilities.
  8
      All the below facts and the facts stated elsewhere herein have a disparate impact on
  9
      the disability community. The named Plaintiffs experienced and have knowledge of
 10
      the below facts that the Plaintiffs ascertained from Defendants’ websites. Defendant
 11
      operates an apartment property. The property is located at 9740 Zelzah Ave,
 12
      Northridge, CA 91325. The property was built in 1986 and has 114 stories with 3
 13
      units. The rent is approximately: $1,550 to $2,050. The internet provides a wealth of
 14
      information regarding the property. The internet advertises that the property has
 15
      amenities that include: Laundry Facilities, Controlled, Access, Maintenance on site,
 16
      Property Manager on Site, Recycling, Elevator, Fitness Center, Spa, Pool, Courtyard,
 17
      Grill, Picnic Area, High Speed Internet Access, Air Conditioning, Heating, Ceiling
 18
      Fans, Smoke Free, Cable Ready, Tub/Shower, Intercom, Dishwasher, Disposal,
 19
      Granite Countertops, Kitchen, Microwave, Oven, Range, Refrigerator, Instant Hot
 20
      Water, Hardwood Floors, Vinyl Flooring, Office, Balcony, Pet Policies Cats
 21

 22
      Allowed Restrictions: 1 to 2 cats per apartment, Pet Limit 2, Pet interview Not

 23
      required, Spayed/Neutered Not required, Declawed Not required, Pet deposit $250,

 24
      Parking Covered 1 space, Assigned Parking, Application Fee $32, Water, Trash

 25
      Removal, Sewer, Lease Options 12 Months. The property advertises on

 26
      apartmentfinder.com, apartmentguide.com, westsiderentals.com, yelp.com, rent.com,

 27
      apartmenthomeliving.com. It is very important to know that on

 28

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  1
      apartmentfinder.com, apartmentguide.com, westsiderentals.com, rent.com,
  2
      apartmenthomeliving.com, there is the equal housing opportunity logo. The plaintiff
  3
      alleges that there is disparate treatment on the internet related to the amenities being
  4
      offered to people without disabilities and people with disabilities. For example, the
  5
      tow signage was not installed. The accessible parking space had an access aisle,
  6
      which was not van accessible. The aisle did not have the “no parking” included in
  7
      the access aisle. The office had a high threshold. There was no International Symbol
  8
      of Accessibility signage. The Internet does not state the accessible amenities at all.
  9
      Also, the statement the “equal housing opportunity statement” is misleading. In fact,
 10
      the property is not completely accessible. All the above facts and the facts stated
 11
      herein have a disparate impact on the disability community.
 12
      20.   On Defendants’ websites, they allow the public without deafness and without
 13
      speech impairments to participate by providing them with a telephone number to
 14
      call. However, Plaintiff Club members that are deaf and or with speech impairments
 15
      are denied equal access to participate because the Defendants do not have any
 16
      effective communication.
 17

 18
      21.   Defendants provide websites for people without disabilities to benefit from the

 19
      rental services without going to the apartments to learn about the properties.

 20
      However, for people with disabilities that require the access to the facility, the

 21
      Defendants do not provide any information on the websites regarding if the office on

 22
      or off the site is accessible. Moreover, the Defendants provide the telephone number

 23
      for the public to call to inquire about the rental services without providing any

 24
      effective alternative communications for Plaintiffs and other people that are deaf or
 25   have speech impairments.
 26   22.   For people without disabilities, the Defendants provide all of the information
 27   on their websites. For Plaintiffs with disabilities, Defendants require them to travel to
 28

                       9
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   1
       the Property to determine if it is accessible, then require them to request the effective
   2
       communication, and then thereafter to request a reasonable accommodation to the
   3
       overt and obvious communication barrier. Therefore, Defendants require Plaintiffs
   4
       and other people with disabilities to suffer a separate benefit.
   5
       23.   Additionally, the named Plaintiffs are alleging photograph discrimination
   6
       related to the physical access of each of the apartments within Exhibit B to this
   7
       complaint. The purpose of Defendants’ internet photographs is to entice perspective
   8
       renters to apply online or to contact the Defendants to rent a place. Defendants’
   9
       internet photographs only entice people without mobility disabilities. Defendants’
  10
       internet photographs exclude any photographs of any accessible features that would
  11
       aid the Plaintiffs. For example, there is no photograph of accessible parking. There
  12
       are no photographs of the accessible route to the office on or off the site. There are
  13
       photographs of the accessible route to the manager's office. There are no photographs
  14
       related to the access to get into and use the rental or manager's office. There are no
  15
       photographs related to the accessible route of the common area. There are no
  16
       photographs of the accessible units. In fact, all the photographs lead a person with a
  17

  18
       mobility disability to believe that the apartments are not accessible, or that they must

  19
       have someone go to the properties to make sure it is accessible. However, people

  20
       without disabilities are not required to go to the Property to see if it is accessible.

  21
       24.   Defendants websites and Defendants’ rental services are not integrated for

  22
       people with disabilities as required. Plaintiffs are required to request an

  23
       accommodation. People without disabilities can access the websites and the rental

  24
       services without any problem, but Plaintiffs and other people with disabilities are
  25   required to request for separate rental services. People with mobility conditions are
  26   not integrated when using the websites because they must go to the apartments to
  27   determine if they are accessible, but people without disabilities need only access
  28

                        10
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   1
       Defendants’ websites to determine they can use them. People that are blind and with
   2
       low vision disabilities must request help to read the website information because the
   3
       printed information is too small, but people without disabilities can access the
   4
       websites without asking for help. Plaintiffs and other people with deafness or people
   5
       with speech condition must ask for help calling the number on the websites, because
   6
       Defendants fail to provide a TTY number to contact, or Defendants fail to provide a
   7
       texting system. Defendants discriminated against the Plaintiffs.
   8
       25.   Plaintiff Club member went to Defendant’s apartment facilities at the Property
   9
       in March, 2022, and on a second subsequent date, to access the rental services. The
  10
       Named Individual Plaintiff has actual knowledge of Defendants’ overt and obvious
  11
       physical barries, that relate to this Plaintiff’s disabilities, to Defendants’ Property on-
  12
       site rental services that this Named Individual Plaintiff intended to visit in March,
  13
       2022, and on a second subsequent date, but this Plaintiff was deterred from accessing
  14
       Defendant’s rental services located on the Property. Defendants provide rental
  15
       information, rental applications, and other rental services on-site at the Property.
  16
       Defendants’ agents confirmed to the Plaintiffs that rental information, rental
  17
       applications, and other rental services were available on-site at the Property.
  18
       Defendants’ rental services at the Property are not accessible. The Named Individual
  19
       Plaintiff has actual knowledge of Defendants’ overt and obvious physical barriers,
  20
       that relate to this Plaintiff’s disabilities, to Defendants’ Property on-site office that
  21

  22
       provides rental services that this Named Individual Plaintiff intended to visit but this

  23
       Plaintiff was deterred from accessing Defendant’s rental services at the office located

  24
       on the Property or off site. With respect to Defendants’ rental services located in the

  25
       office, the named individual Plaintiff determined that overt and obvious architectural

  26
       barriers and communication barriers exist that relate to his disabilities, that include

  27
       but are not limited to, the following: Defendants’ path of travel from the sidewalk to

  28

                        11
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   1
       the rental services is not accessible since it has step changes in level along the path.
   2
       There are numerous step changes in level that muct be traversed to access the main
   3
       entrance door leading into the complex. The main entrance door fails to have the
   4
       required smooth and uninterrupted surface at the bottom of the door. The main
   5
       entrance door leading into the complex is not accessible due to a significant step
   6
       change in level at the entrance door threshold that is not beveled or ramped.
   7
       Defendant’s callbox is located too high to be accessible. Defendants do not provide
   8
       the required directional signage as to the designated path of travel from the sidewalk
   9
       to Defendant’s rental service office. Defendant’s rental service office entrance is not
  10
       accessible due to a significant step change in level at the rental service office door
  11
       threshold that is not beveled or ramped. Additionally, Defendant’s rental service
  12
       office entry door operating hardware is a round knob. The brochure dispenser is
  13
       mounted too high to ve accessible. The Named Individual Plaintiff uses a
  14
       wheelchair for mobility and these step changes in level and the other stated issues
  15
       cause the path of travel and the rental services entry to be not accessible. Defendants
  16
       failed to provide any directional signage indicating an alternate accessible path of
  17
       travel to the rental services. Defendants failed to provide the required fully
  18
       compliant van accessible disabled parking for the rental services. Defendants failed
  19
       to provide a dimensionally compliant van accessible disabled parking space and
  20
       disabled parking access aisle, the required disabled parking signage, including tow
  21

  22
       away signage, fine signage, ground markings, and failed to locate said parking on a

  23
       level surface and nearest the rental services. Defendants also failed to provide

  24
       compliant tow away signage. The Named Individual Plaintiff requires the use of a

  25
       compliant van accessible disabled parking space to safely exit and re-enter the

  26
       vehicle. Defendants’ failure to provide the required compliant disabled parking,

  27
       disabled parking access aisle, disabled parking disability signage, access aisle, and

  28

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   1
       disability ground markings, such that the Named Individual Plaintiff is not able to
   2
       safely park at Defendants’ establishment since the individual Plaintiff may be
   3
       precluded from exiting or re-entering the vehicle if the disabled parking and disabled
   4
       parking signage is not present and others park improperly. Additionally, Defendants
   5
       failed to provide the required accessible path of travel from the parking area to the
   6
       rental services since the existing path of travel has step changes in level.
   7
       Additionally, Defendants overt and obvious communication barriers were also
   8
       present at the rental services in March, 2022, and on a second subsequent date.
   9
       Defendants failed to provide any method of text communication with their rental
  10
       services and failed to publish any information as to how to initiate text
  11
       communication contact. The Named Individual Plaintiff had actual knowledge of
  12
       these barriers at Defendants’ Property that Plaintiff intended to visit, and the Named
  13
       Individual Plaintiff was deterred from accessing Defendants’ rental services at the
  14
       Property again in May, 2022. See Property photos in Exhibit B.
  15
       26.   Plaintiff Club and the named Individual Plaintiff desire to make sure that
  16
       Defendants’ rental services at Defendants’ physical office location and Defendants’
  17

  18
       websites are fully accessible to Plaintiff Club’s members, the named Individual

  19
       Plaintiff, and other people with disabilities. Plaintiff Club, its Club members, and the

  20
       named Individual Plaintiff all have actual knowledge of Defendants’ discriminatory

  21
       conditions, and they are currently deterred from attempting further access until the

  22
       barriers are removed. Plaintiff Club and the named Individual Plaintiff intend to

  23
       return to Defendants’ Property and Defendants websites at the end of this action to

  24
       obtain rental services, and to verify that the communication and architectural barriers
  25   are removed. The named Plaintiffs’ intent to return is genuine. In this case, Plaintiff
  26   Club has numerous members residing near Defendants Property. Plaintiff Club’s
  27   members have actual knowledge of the discriminatory conditions as alleged herein
  28

                        13
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   1
       when the Plaintiff Club investigated the Property and the rental services and
   2
       determined that the Club members would not be able to use the rental services due to
   3
       the discriminatory conditions. Therefore, Plaintiff Club members were and are
   4
       deterred from visiting the properties. Plaintiff Members were not required to
   5
       actually visit the properties. See Civil Rights Education & Enforcement Center v.
   6
       Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017). However, a member of
   7
       Plaintiff Cub did visit and attempt to access Defendants’ rental services at
   8
       Defendants’ physical office at the Property. Plaintiff Club and the individual
   9
       Plaintiff have specific plans to visit at the conclusion of this case to obtain rental
  10
       information and to verify the Defendants ceased its discriminatory conduct by
  11
       removing communication and physical barriers to access to the rental services.
  12

  13
        DISCRIMINATORY PRACTICES IN HOUSING ACCOMMODATIONS –
  14
       FAIR HOUSING ACT CLAIMS
  15
       27.   FHA Standing:
  16
             Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  17
       complaint, Defendants discriminated against Plaintiffs in violation of FHA sections §
  18
       3604(f)(1- 3) and 42 § 3604(c), as further detailed below. As a result, the present
  19
       named Plaintiffs suffered injury as a result of Defendants discriminatory actions, and
  20
       named Plaintiffs now pray for damages, injunctive relief, declaratory relief, and
  21
       other relief as hereinafter stated. The Federal Fair Housing Act applies to
  22
       Defendants’ apartment complex since it has more than 4 residential units. FHA
  23
       standing is substantially broader than standing under the ADA due to the critically
  24
       important need of adequate availability of housing for the disabled. A potential
  25
       plaintiff is not even required to have an interest in renting a particular property or
  26
       dwelling to have standing. Smith v. Pacific Properties and Development Corp, 358
  27
       F.3d 1097, 1099 (9th Cir 2004) [Testers have standing to bring Fair Housing Act
  28

                        14
                                                                                    COMPLAINT
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   1
       claims, Id 1099, 1104]. Under the Act, any person harmed by discrimination,
   2
       whether or not the target of the discrimination, can sue to recover for his or her own
   3
       injury. See Trafficante v. Metropolitan Life Ins. Co., 409 U.S. 205, 212, 93 S.Ct. 364,
   4
       34 L.Ed.2d 415 (1972). “This is true, for example, even where no housing has
   5
       actually been denied to persons protected under the Act.” San Pedro Hotel v City of
   6
       Los Angeles, 159 F.3d 470, 474-475 (9th Cir 1998). In the present case, the named
   7
       Plaintiffs alleged they suffered the injury of discriminatory conduct by Defendants,
   8
       and that the named Plaintiffs suffered monetary and other damages as a result. The
   9
       named Plaintiffs seek injunctive relief as well as damages, both of which are
  10
       available under 42 USC § 3613(c). Assuming arguendo in the present case, that
  11
       prospective injunctive relief was not available to Plaintiffs due to mootness or
  12
       otherwise, which Plaintiffs dispute; the named Plaintiffs are still permitted to recover
  13
       damages under their federal FHA claims. Harris v Itzakhi, 183 F.3d 1043, 1050 (9th
  14
       Cir 1999) [During the appeal in Harris case, the plaintiff therein moved Three
  15
       Thousand (3000) miles away and her injunctive claims became moot. However,
  16
       Plaintiff’s claim for damages survived and was not affected]. In the present case,
  17
       while Plaintiffs can satisfy the injunctive relief prudential standing requirements, the
  18
       above Ninth Circuit Harris court authority makes it clear that those prudential
  19
       standing requirements for injunctive relief are not applicable to Plaintiffs FHA
  20
       damage claims. Hence, in the present case, Plaintiffs damage claims survive even if
  21
       prospective injunctive relief is not available. The present Plaintiff Club has
  22
       organization standing separately on its own under the FHA. Additionally, under the
  23
       FHA, Plaintiff Club has associational standing to assert its Club member claims
  24
       since it only seeks injunctive and declaratory relief as to its Club members. Plaintiff
  25
       Club and the named Individual Plaintiff have standing with respect to the following
  26
       FHA claims.
  27

  28

                        15
                                                                                  COMPLAINT
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   1
       CLAIM I: Discrimination In Violation of 42 § 3604(f)(1) - Failure To Have A
   2
       Policy For Receiving Prospective Tenant Accommodation Requests, Failure To
   3
       Train Staff, And Failure To Make The Policy Known To The Plaintiffs
   4
       28.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
   5
       complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
   6
       this FHA section. This FHA statute states it is unlawful to discriminate in the sale or
   7
       rental, or to otherwise make unavailable or deny, a dwelling to any buyer or renter
   8
       because of a handicap of (A) that buyer or renter; (B) a person residing in or
   9
       intending to reside in that dwelling after it is so sold, rented, or made available; or…
  10
       §3604(f)(1) [emphasis added]. See Texas Dept. of Housing and Community Affairs
  11
       v Inclusive Communities Project, 135 S.Ct. 2507, 2519 (2015) [FHA statutory
  12
       scheme permits disparate impact claims, and those type of claims do not require
  13
       intent]. due to Defendants’ communication and architectural barriers, Defendants
  14
       discriminated against Plaintiffs by failing to have a policy, practice, or method for
  15
       Plaintiffs to make a reasonable accommodation request for equal access to their
  16
       rental services on their website or at their on-site office at the Property. Defendants
  17
       have an affirmative duty to have a policy, process to receive such accommodation
  18
       requests and to respond to said requests. See Giebeler v. M & B Associates, 343 F.3d
  19
       1143 (9th Cir. 2003). As a result, Defendant caused Plaintiffs to suffer disparate
  20
       impact discrimination.
  21

  22
       CLAIM II: Failure to Engage in Interactive Process In Violation Of The Fair
  23
       Housing Act And California Fair Employment And Housing Act
  24
       29.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  25
       complaint, Plaintiffs suffered discrimination by Defendants in violation of FHA
  26
       section § 3604(f)(1) and § 3604(f)(2). Plaintiffs contend that Defendant failed to
  27

  28

                        16
                                                                                   COMPLAINT
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   1
       engage in a good-faith interactive process to determine and to implement effective
   2
       reasonable accommodations so that Plaintiffs could gain equal access Defendants’
   3
       rental services, to apply for a lease, or to allow Plaintiffs to access Defendants’
   4
       physical office on or off the site and apartments.
   5
       CLAIM III: Discrimination In Violation of 42 § 3604(f)(2)
   6
       30.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
   7
       complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
   8
       this FHA section § 3604(f)(2). This FHA section states “it shall be unlawful to
   9
       discriminate against any person in the terms, conditions, or privileges of sale or
  10
       rental of a dwelling, or in the provision of services or facilities in connection with
  11
       such dwelling”. Plaintiffs more specific factual basis for this claim is set forth
  12
       above at ¶¶23-26 above. As previously stated, the named Individual Plaintiff was a
  13
       prospective renter and Plaintiff Club was also seeking rental housing on behalf of the
  14
       named Individual Plaintiff ¶¶8 – 26 above. In the instant case, Defendant’s office
  15
       located on the Property is a “facility” in connection with the rental of a dwelling and
  16
       the on-site rental services provided within the office fall within the FHA statute. In
  17
       the instant case, the named Plaintiffs both assert that Defendant’s failure to remove
  18
       communication and architectural barriers to permit access to Defendant’s on-site
  19
       rental services contained within the office is a separate, independent, actionable
  20
       violation of this FHA section § 3604(f)(2), even without reference to the ADA as a
  21
       predicate. Plaintiffs have alleged that Defendants’ Property has overt and obvious
  22
       physical barriers to access its rental services provided in its on-site office. See ¶¶25 -
  23
       26. The 9th Circuit Smith court stated that the mere observation of overt architectural
  24
       barriers is actionable. Smith at 1104 [“To read an additional standing requirement
  25
       into the statute beyond mere observation, however, ignores that many overtly
  26
       discriminatory conditions, for example, lack of a ramped entryway, prohibit a
  27
       disabled individual from forming the requisite intent or actual interest in renting or
  28

                        17
                                                                                   COMPLAINT
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   1
       buying for the very reason that architectural barriers prevent them from viewing the
   2
       whole property in the first instance” (emphasis in original)]. The Smith court found
   3
       Defendants liable under this FHA subsection even though that case did not involve
   4
       ADA Title III claims. However, Plaintiffs did not just allege that Plaintiff Club
   5
       observed Defendant’s overt architectural barriers, but Plaintiffs alleged that a
   6
       Plaintiff Club member experienced the barriers, that the named Individual Plaintiff
   7
       had actual knowledge of Defendants’ communication and architectural barriers and
   8
       Plaintiff Davis was deterred from obtaining equal access to Defendant’s office
   9
       facility and its rental services located therein. Defendants also discriminated against
  10
       Plaintiffs by failing to modify its practices and policies to provide access via other
  11
       methods of access to its rental services contained within the office on or off the site.
  12
       Defendant’s failure to remove the architectural and communication barriers to access
  13
       its facilities and the rental services located therein, or to provide an accommodation
  14
       to provide methods of alternate access to the office facility, providing rental services
  15
       constitutes the prohibited discrimination, separately and independently.
  16
       Additionally, Defendant’s conduct is also prohibited under ADA Title III and
  17
       constitutes a second, separate, independent source of discrimination against Plaintiffs
  18
       in violation of FHA § 3604(f)(2). Since Defendants discriminatory conduct involves
  19
       Defendants’ rental facilities and its rental services located therein, Plaintiffs assert
  20
       any discriminatory conduct found in violation of ADA Title III also constitutes
  21
       prohibited “discrimination” under FHA § 3604(f)(2).
  22
       CLAIM IV: Discrimination In Violation of 42 § 3604(f)(3)(A and B only)
  23
       31.   Plaintiffs do not make any claim against Defendants for a failure to “design
  24
       and construct” pursuant to § 3604(f)(3)(C). Based on the facts plead at ¶¶ 8 - 26
  25
       above and elsewhere herein this complaint, Plaintiffs suffered discrimination by
  26
       Defendants in violation of FHA sections § 3604(f)(3)(A, B) only. The FHA requires
  27
       that “….[f]or the purposes of this subsection, discrimination includes-- (B) a refusal
  28

                        18
                                                                                     COMPLAINT
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   1
       to make reasonable accommodations in rules, policies, practices, or services, when
   2
       such accommodations may be necessary to afford such person equal opportunity to
   3
       use and enjoy a dwelling...” 42 § 3604(f)(3)(B). See also Giebeler v. M & B
   4
       Associates, 343 F.3d 1143 (9th Cir 2003). Defendants improperly refused Plaintiffs’
   5
       repeated written and other requests for an accommodation to have equal access to its
   6
       rental services.
   7
       CLAIM V: Discrimination In Violation of 42 § 3604(c) As To NSA
   8
       32.   Based on information, belief, and the facts plead at ¶¶ 8 – 26 above and
   9
       elsewhere herein, Plaintiffs herein alleges that Defendants caused Plaintiffs to suffer
  10
       the injury of discrimination since Defendants violated 42 U.S.C. §§ 3604 (c) with
  11
       respect to its notices, statements, and advertisements (“NSA”). Plaintiffs allege that
  12
       Defendants discriminated against them when Defendants made, printed, or
  13
       published, or caused to be made printed, or published notices, statements, or
  14
       advertisements (“NSA”) that suggest to an ordinary reader a preference to attract
  15
       tenants without disabilities. Defendants' Internet advertising regarding its rental
  16
       services has an unlawful disparate impact on Plaintiffs.
  17

  18
       SECOND CAUSE OF ACTION : Violation of California Fair Housing Act
  19
       33.     Failure to Provide Obvious Reasonable Accommodation and Modification:
  20
       Based on information, belief and the facts stated above at ¶¶ 8 – 26 above and
  21
       elsewhere in this complaint, Plaintiffs allege that Defendants refused to make
  22
       reasonable accommodations in rules, policies, practices, or services in violation of
  23
       CA Government Code sections 12927 and 12955.2, when these accommodations
  24
       may be necessary to afford a disabled person equal opportunity to use and enjoy
  25

  26
       Defendants’ rental services. As stated in detail above, Defendants refused to make

  27
       reasonable accommodations with the instant Plaintiffs and discriminated against each

  28

                          19
                                                                                  COMPLAINT
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   1
       of them on the basis of disability.
   2

   3
       THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS- Claims Under
   4
       The Americans With Disabilities Act Of 1990
   5
       34.   ADA Standing:
   6
             ADA Title III does cover public and common use areas at housing
   7
       developments when these public areas are, by their nature, open to the general
   8
       public. An office providing rental services is open to the general public. (See U.S.
   9
       Department of Justice - ADA Title III Technical Assistance Section III-1.2000,
  10
       Illustration 3, office on or off the site covered). The parking and paths of travel to
  11
       the office on or off the site are also covered. See Section III–1.2000, ADA Title III
  12
       Technical Assistance Manual, http://www.ada.gov/taman3.html (“ILLUSTRATION
  13
       3: A private residential apartment complex contains a office on or off the site. The
  14
       office on or off the site is a place of public accommodation”). See Kalani v Castle
  15
       Village, LLC, 14 F.Supp.3d 1359, 1371 (E.D.Cal, 2014)[ citing Johnson v. Laura
  16
       Dawn Apartments, LLC, 2012 WL 33040 at *1 n. 1 (E.D.Cal.2012) (Hollows, M.J.)
  17
       (“[t]he leasing office of an apartment is a place of public accommodation.] . In the
  18
       present case, the named Plaintiffs have sufficiently alleged that Defendants have an
  19
       office at the Property that provides rental services. Following prior sister Circuit
  20
       Courts of Appeals decisions, our Ninth Circuit Court very recently held that an ADA
  21
       Plaintiff can be only a “tester” and have standing. See Civil Rights Education &
  22
       Enforcement Center v. Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017)
  23
       [the Ninth Circuit CREEC court held (1) ADA “tester” standing is valid and a
  24
       Plaintiff’s motivation for visit is “irrelevant”, and (2) an ADA “deterrent effect
  25
       doctrine” claim does not require a Plaintiff to have a personal encounter with the
  26
       barrier to equal access, only to have knowledge of the barrier] citing Havens Realty
  27
       Corp. v. Coleman, 455 U.S. 363, 372–74, 102 S.Ct. 1114 (1982); Smith v. Pacific
  28

                        20
                                                                                   COMPLAINT
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   1
       Properties and Development Corp, 358 F.3d 1097, 1102-1104 (9th Cir 2004);
   2
       Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939 (9th Cir 2011, en banc);
   3
       Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1335–37 (11th Cir. 2013);
   4
       Colo. Cross Disability Coal. v. Abercrombie & Fitch Co., 765 F.3d 1205, 1210–11
   5
       (10th Cir. 2014). In the present case, the named Plaintiffs each have ADA standing.
   6
       Plaintiffs have alleged that Defendants discriminated against Plaintiffs in violation of
   7
       ADA Title III statutes and regulations as detailed further in the ADA claims stated
   8
       below. As a result, the named Plaintiffs have each suffered injury and each seek
   9
       only injunctive and declaratory relief pursuant to their ADA Claims.
  10
       CLAIM I: Auxiliary Aids – Failure To Effectively Communicate
  11
       35.   42 United States Code 12182(b)(2)(iii) states, "a failure to take such steps as
  12
       may be necessary to ensure that no individual with a disability is excluded, denied
  13
       services, segregated or otherwise treated differently than other individuals because of
  14
       the absence of auxiliary aids and services, unless the entity can demonstrate that
  15
       taking such steps would fundamentally alter the nature of the good, service, facility,
  16
       privilege, advantage, or accommodation being offered or would result in an undue
  17
       burden;..." Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
  18
       complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
  19

  20
       violated said provision. Plaintiffs set forth the factual basis for this claim most

  21
       specifically at ¶¶ 13 -14, 16-24 above. The ADA “applies to the services of a place

  22
       of public accommodation, not services in a place of public accommodation. To limit

  23
       the ADA to discrimination in the provision of services occurring on the premises of a

  24   public accommodation would contradict the plain language of the statute.” Nat’l
  25   Fed’n of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006)
  26   (emphasis added) (citing Weyer v. Twentieth Century Fox Film Corp., 198 F.3d
  27   1104, 1115 (9th Cir. 2000) [holding that “whatever goods or services the place
  28

                        21
                                                                                    COMPLAINT
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   1
       provides, it cannot discriminate on the basis of disability in providing enjoyment of
   2
       those goods and services”]). An ADA plaintiff may challenge a business’ online
   3
       offerings as well. So long as there is a “nexus”—that is, “some connection between
   4
       the good or service complained of and an actual physical place”—a plaintiff may
   5
       challenge the digital offerings of an otherwise physical business. See Gorecki v.
   6
       Hobby Lobby Stores, Inc, 2017 WL 2957736, at *4 (C.D. Cal. June 15, 2017) [Case:
   7
       CV 17–1131–JFW (SKx)]. The ADA requires the Defendants to provide effective
   8
       communication to the instant Plaintiffs and to people with disabilities. In the
   9
       present case, Plaintiffs experienced and have knowledge that Defendants failed to
  10

  11
       have a required procedure to provide effective communication. Plaintiffs allege that

  12
       Defendants failed to train their staff on the way to use the auxiliary aids. Defendants

  13
       did not provide any auxiliary aid and the Defendants did not provide any reasonable

  14
       accommodation to the overt and obvious communication barriers, and failed to

  15   respond to Plaintiffs’ requests for accommodation. Plaintiffs are not demanding that
  16   Defendants provide a specific reasonable accommodation or a specific auxiliary aid.
  17   ADA law allows the Defendants to decide what auxiliary aid and reasonable
  18   accommodation will be provided. In this case, however, Defendants failed to
  19   provide any reasonable accommodation for the overt and obvious communication
  20   barriers to equal access to their rental services, failed to provide any auxiliary aid,
  21   and failed to provide any effective communication. Plaintiffs allege that Defendants’
  22   websites provide a contact number for the general public, but Defendants failed to
  23   provide Plaintiffs with the required effective communication using texting or other
  24   alternate means of communication for Plaintiffs and other people with a deaf
  25   condition or a speech condition. Defendants’ conduct discriminates against Plaintiff
  26   Club’s members that have hearing disabilities and Club’s members with speech
  27   disabilities. Defendants are required to provide, on Defendants’ websites, to provide
  28

                        22
                                                                                    COMPLAINT
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   1
       a method to effectively communicate with Plaintiff Club members that have hearing
   2
       and speech disabilities, and other people that are deaf or have speech impairments.
   3

   4
       CLAIM II: Denial of Participation
   5
       36.   42 United States Code 12182(b)(1)(A)(i) states, "It shall be discriminatory to
   6
       subject an individual or class of individuals on the basis of a disability or disabilities
   7
       of such individual or class, directly, or through contractual, licensing, or other
   8
       arrangements, to a denial of the opportunity of the individual or class to participate in
   9
       or benefit from the goods, services, facilities, privileges, advantages, or
  10

  11
       accommodations of an entity." Based on the facts plead at ¶¶ 8 - 26 above and

  12
       elsewhere in this complaint, Plaintiffs are informed, believe, and thereon allege that

  13
       Defendants violated said provision. Plaintiffs set forth the factual basis for this claim

  14
       most specifically at ¶¶ 20-24 above. Defendants discriminated against Plaintiffs in

  15   violation of 42 United States Code 12182(b)(1)(A)(i) and 42 U.S.C. § 12188.
  16   CLAIM III: Participation in Unequal Benefit
  17   37.   Defendants provide unequal benefit for people with disabilities in violation of
  18   42 United States Code 12182(b)(1)(A)(ii) and 42 U.S.C. § 12188. Based on the facts
  19   plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
  20   believe, and thereon allege that Defendants discriminated against Plaintiffs in
  21   violation of said provision. Plaintiffs set forth the factual basis for this claim most
  22   specifically at ¶¶ 20-24 above.
  23   CLAIM IV: Separate Benefit
  24   38.   Defendants’ photographs discriminate against Plaintiffs in violation of 42
  25   United States Code 12182(b)(2)(A)(iii) and 42 U.S.C. § 12188. Based on the facts
  26   plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
  27   believe, and thereon allege that Defendants discriminated against Plaintiffs in
  28

                        23
                                                                                     COMPLAINT
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   1
       violation of said provision. Plaintiffs set forth the factual basis for this claim most
   2
       specifically at ¶¶ 20-24 above.
   3
       CLAIM V: Integrated Settings
   4
       39.   Defendants’ rental services are not integrated for Plaintiffs and people with
   5
       disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42 U.S.C. §
   6
       12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
   7
       Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
   8
       against Plaintiffs in violation of said provision. Plaintiffs set forth the factual basis
   9
       for this claim most specifically at ¶¶ 20-24 above.
  10
       CLAIM VI: Failure To Modify Practices, Policies And Procedures
  11
       40.   Defendants failed and refused to provide a reasonable alternative by
  12
       modifying its practices, policies, and procedures in that they failed to have a scheme,
  13
       plan, or design to accommodate Plaintiff Club, its Club members, the individual
  14
       named Plaintiff, and/or others similarly situated in utilizing Defendants' rental
  15
       services, at its websites and its office at the Property, in violation of 42 United States
  16

  17
       Code 12182(b)(2)(A)(ii) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26

  18
       above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon

  19
       allege that Defendants discriminated against Plaintiffs in violation of said provision.

  20
       Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 18-26 above.

  21
       CLAIM VII: Failure To Remove Architectural And Communication Barriers

  22
       41.   Plaintiffs allege that Defendants failed to remove architectural barrier and

  23
       communication barriers as required in violation of 42 United States Code

  24
       12182(b)(2)(A)(iv) and 42 U.S.C. § 12182. Based on the facts plead at ¶¶ 8 - 26

  25
       above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon

  26
       allege that Defendants discriminated against the named Individual Plaintiff in

  27
       violation of said provision. Plaintiffs set forth the factual basis for this claim most

  28

                        24
                                                                                     COMPLAINT
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   1
       specifically at ¶¶ 8,9,20-24,25,26 above. The named Individual Plaintiff personally
   2
       reviewed all the information and photographs of Defendants’ property. As a result,
   3
       the named Individual Plaintiff has actual knowledge of the physical and
   4
       communication barriers that exist at Defendants’ Property. The named Individual
   5
       Plaintiff determined that the physical barriers that exist at Defendants’ property,
   6
       directly relate to his disabilities, and make it impossible or extremely difficult for
   7
       him to physically access Defendants’ rental services at the Property. The named
   8
       Individual Plaintiff was deterred by his actual knowledge of the physical and
   9
       communication barriers that exist at Defendants’ Property which include but are not
  10
       limited to the barriers to facilities for disabled parking, exterior path of travel to the
  11
       office, the office entrance, and office interior, since said Defendants’ facilities were
  12
       not accessible because they failed to comply with the Federal ADA Accessibility
  13
       Guidelines (“ADAAG”) and California's Title 24 Building Code Requirements. See
  14
       ¶¶ 25 for details. The named Individual Plaintiff had actual knowledge of these
  15
       barriers and determined that it would be futile gesture for him to go to the Property
  16
       on the date that he had originally intended. The named Individual Plaintiff is
  17
       currently deterred from returning due to his knowledge of the barriers. At the end of
  18
       this action, the named Individual Plaintiff intends to return to Defendants’ physical
  19
       office on or off the site location to obtain rental information and verify that the
  20
       communication and physical barriers to Defendants’ rental services are removed.
  21
       Defendants failure to remove the barriers to equal access constitutes discrimination
  22
       against the named Individual Plaintiff.
  23
       CLAIM VIII: Failure To Make Alterations Readily Accessible And Usable
  24
       42.   Defendants are required to make alterations to their facilities in such a manner
  25
       that, to the maximum extent feasible, the altered portions of the facility are readily
  26
       accessible to and usable by individuals with disabilities, including individuals who
  27
       use wheelchairs pursuant to 42 U.S.C. §12183(a)(2). Based on the facts plead at ¶¶ 8
  28

                        25
                                                                                     COMPLAINT
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   1
       - 26 above and elsewhere in this complaint, the named Plaintiffs are informed,
   2
       believe, and thereon allege that Defendants violated this provision. Plaintiffs allege
   3
       that Defendants altered their facility in a manner that affects or could affect the
   4
       usability of the facility or a part of the facility after January 26, 1992. In performing
   5
       the alteration, Plaintiffs allege that Defendants failed to make the alteration in such a
   6
       manner that, to the maximum extent feasible, the altered portions of the facility are
   7
       readily accessible to and usable by individuals with disabilities, including individuals
   8
       who use wheelchairs, in violation of 42 U.S.C. §12183(a)(2).
   9
       CLAIM IX: Administrative Methods
  10
       43.   Plaintiffs are informed, believe, and thereon allege that Defendants contract
  11
       with website providers without making sure that the websites will be accessible to
  12
       people with disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42
  13

  14
       U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this

  15
       complaint, Plaintiffs are informed, believe, and thereon allege that Defendants

  16
       discriminated against the named Individual Plaintiff in violation of said provision.

  17
       Plaintiffs set forth the factual basis for this claim most specifically at ¶¶18-26 above.

  18   CLAIM X: Screen Out
  19
       44.   Plaintiffs are informed, believe, and thereon allege that Defendants screened

  20
       out Plaintiffs and other people with disabilities in violation of 42 United States Code

  21
       12182(b)(2)(A)(i) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26

  22
       above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
  23   allege that Defendants discriminated against the named Plaintiffs in violation of said
  24   provision. Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 8
  25   - 26 above. Defendants screened out the named Plaintiffs from its rental services and
  26   processes, because Defendants failed to remove architectural and communication
  27   barriers to its website and physical office, failed to provide required effective
  28

                        26
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   1
       alternate communication methods, and failed to provide required auxiliary aids.
   2
       CLAIM XI: Denial Of Full And Equal Access
   3
       45.    Defendants are required to provide full and equal access to Defendants' rental
   4
       services, goods, facilities, privileges, advantages, or accommodations pursuant to 42
   5
       United States Code 12182(b) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶
   6
       8 - 26 above and elsewhere in this complaint, Plaintiffs are informed, believe, and
   7
       thereon allege that Defendants discriminated against the named Plaintiffs in violation
   8
       of said provision. Plaintiffs set forth the factual basis for this claim most specifically
   9
       at ¶¶ 8 - 26 above.
  10

  11
       CLAIM XII: Failure To Investigate And Maintain Accessible Features
  12
       46.    Defendants made repairs and administrative changes which violated ADA and
  13
       its regulations. See ADA Title III Regulations Sec.36.211 Maintenance of accessible
  14
       features. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  15

  16
       Defendants failed to provide and then maintain any accessible features in its parking,

  17
       path of travel, office on or off the site services and website rental services. Plaintiffs

  18
       are informed, believe, and thereon allege that Defendants discriminated against the

  19
       named Plaintiffs in violation of this provision.
  20   CLAIM XIII: Association
  21
       47.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  22
       Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
  23
       against the named Plaintiffs in violation of 42 U.S.C. § 12182(b)(1)(E)
  24

  25         DISCRIMINATORY PRACTICES IN PUBLIC ACCOMMODATIONS
  26          FOURTH CAUSE OF ACTION: ONLY THE INDIVIDUALL NAMED
  27   PLAINTIFF AGAINST ALL DEFENDANTS - CLAIMS UNDER CALIFORNIA
  28

                        27
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   1
                                       ACCESSIBILITY LAWS
   2
       CLAIM I: Denial Of Full And Equal Access
   3
       48. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint, the
   4
       named Individual Plaintiff was denied full and equal access to Defendants' goods.
   5
       services, facilities, privileges, advantages, or accommodations within a public
   6
       accommodation owned, leased, and/or operated by Defendants as required by Civil
   7
       Code Sections 54, 54.1, and specifically 54.1(d). The factual basis for this claim is at
   8
       18-28 above.
   9
       CLAIM II: Failure To Modify Practices, Policies And Procedures
  10
       49.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  11
       the named Individual Plaintiff was denied full and equal access to Defendants' goods.
  12
       Defendants failed and refused to provide a reasonable alternative by modifying its
  13
       practices, policies, and procedures in that they failed to have a scheme, plan, or
  14
       design to assist Plaintiff Members and/or others similarly situated in entering and
  15
       utilizing Defendants' services as required by Civil Code § 54.1. The factual basis for
  16
       this claim is at 18-28 above.
  17
       CLAIM III: Violation Of The Unruh Act
  18
       50.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  19
       the individual, the named Individual Plaintiff was denied full and equal access to
  20
       Defendants' goods. Defendants violated the CA Civil Code § 51 by specifically
  21
       failing to comply with Civil Code §51(f). Defendants' facility violated state
  22
       disability laws, the ANSI Standards, A117, and California's Title 24 Accessible
  23
       Building Code by failing to provide equal access to Defendants’ facilities.
  24
       Defendants did and continue to discriminate against Plaintiff Members in violation
  25
       of Civil Code §§ 51(f), and 52. The factual basis for this claim is at 18-28 above.
  26
                  Treble Damages Pursuant To California Accessibility Laws
  27
       51.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  28

                        28
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   1
       only the named Individual Plaintiff prays for an award of treble damages against
   2
       Defendants, and each of them, pursuant to California Civil Code sections 52(a) and
   3
       54.3(a). Defendants, each of them respectively, at times prior to and including the
   4
       day the named Individual Plaintiff attempted patronized Defendants’ facilities and
   5
       rental services, and continuing to the present time, knew that persons with physical
   6
       disabilities were denied their rights of equal access. Despite such knowledge,
   7
       Defendants, and each of them, failed and refused to take steps to comply with the
   8
       applicable access statutes; and despite knowledge of the resulting problems and
   9
       denial of civil rights thereby suffered by the named Individual Plaintiff. Defendants,
  10
       and each of them, have failed and refused to take action to grant full and equal access
  11
       to the individual Plaintiff in the respects complained of hereinabove. Defendants,
  12
       and each of them, have carried out a course of conduct of refusing to respond to, or
  13
       correct complaints about, denial of disabled access and have refused to comply with
  14
       their legal obligations to make Defendants’ public accommodation facilities and
  15
       rental services accessible pursuant to the ADAAG and Title 24 of the California
  16
       Code of Regulations (also known as the California Building Code). Such actions
  17
       and continuing course of conduct by Defendants in conscious disregard of the rights
  18
       and/or safety of the named Individual Plaintiff justify an award of treble damages
  19
       pursuant to sections 52(a) and 54.3(a) of the California Civil Code.
  20

  21
                         DEMAND FOR JUDGMENT FOR RELIEF:
  22
       A.    All named Plaintiffs seeks injunctive relief pursuant to 42 U.S.C. 3613(c) and
  23
       42 U.S.C. § 12188(a). Only the named Individual Plaintiff seeks injunctive relief
  24
       pursuant to CA Civil Code §52. Pursuant to 42 U.S.C. 3613(c), all Plaintiffs request
  25
       this court to enjoin Defendants to cease their discriminatory practices in housing
  26
       rental services, rental housing management services, and for Defendants to
  27
       implement written policies and methods to respond to reasonable accommodation
  28

                       29
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   1
       and reasonable modification requests. Pursuant to 42 U.S.C. § 12188(a), Plaintiffs
   2
       request this Court enjoin Defendants to remove all barriers to equal access to the
   3
       disabled Plaintiffs in, at, or on their facilities, including but not limited to
   4
       architectural and communicative barriers in the provision of Defendants’ rental
   5
       services. Plaintiffs do not seek injunctive relief pursuant to Cal. Civil Code §55 and
   6
       Plaintiffs do not seek attorneys’ fees pursuant to Cal. Civil Code §55. Plaintiffs do
   7
       not seek any relief at all pursuant to Cal. Civil Code §55.
   8
       B.     All named Plaintiffs seek actual damages pursuant to 42 U.S.C. 3613(c).
   9
       However, Plaintiff Club only seeks damages for itself. Plaintiff Club does not seek
  10
       damages on behalf of its members;
  11
       C. Only the named Individual Plaintiff seeks recovery of actual damages pursuant
  12
       to Cal. Civil Code §§ 52 or 54.3;
  13
       D.     Only the named Individual Plaintiff seeks $4,000 in minimum statutory
  14
       damages pursuant to Cal. Civil Code § 52 for each and every offense of Civil Code §
  15
       51, pursuant to Munson v. Del Taco, (June 2009) 46 Cal. 4th 661;
  16
       E.     In the alternative to the damages pursuant to Cal. Civil Code § 52 in Paragraph
  17
       C above, only the named individual Plaintiff seeks $1,000 in minimum statutory
  18
       damages pursuant to Cal. Civil Code § 54.3 for each and every offense of Civil Code
  19
       § 54.1;
  20
       F.     All named Plaintiffs seek attorneys' fees pursuant to 42 U.S.C. 3613(c)(2), 42
  21
       U.S.C. § 12205, and Cal. Civil Code §§ 52, 54.3;
  22
       G.     Only the named individual Plaintiff seeks treble damages pursuant to Cal.
  23
       Civil Code §§ 52(a) or 54.3(a);
  24
       H.     The named Plaintiffs are seeking perspective injunctive relief to require the
  25
       Defendants to provide obvious reasonable accommodations, to provide the required
  26
       auxiliary aids and to modify Defendants’ procedures, practices, and policies of the
  27
       Defendants in the provision of Defendants’ rental services. Without perspective
  28

                         30
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   1
       relief the Plaintiffs will suffer future harm.
   2
       I.    All named Plaintiffs seek a Jury Trial and;
   3
       J.    For such other further relief as the court deems proper.
   4

   5   Respectfully submitted:
   6
                                                        LIGHTNING LAW, APC
   7
       Dated: May 25, 2022
   8
                                                By:     /s/David C. Wakefield
   9                                                    DAVID C. WAKEFIELD, ESQ.
  10
                                                        Attorney for Plaintiffs

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